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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

NICOLE CHASE                      : CIVIL ACTION 3:18-cv-00683-VLB
                                  :
      Plaintiff,                  :
                                  :
VS.                               :
                                  :
NODINE’S SMOKEHOUSE, INC., CALVIN :
NODINE, TOWN OF CANTON,           :
JOHN COLANGELO, AND ADAM GOMPER :
                                  :
      Defendants.                 : October 1, 2019


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                   MOTION FOR SUMMARY JUDGMENT


Exhibit A………..Nodine’s Smokehouse, Inc.’s Responses to Plaintiff’s
Interrogatories



Exhibit B……….. Excerpts of the Deposition Transcript of Nicole Chase
